     Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 1 of 49




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


THE STATE OF GEORGIA
                                                         CIVIL ACTION FILE
v.
                                                       No. 1:23-CV-03621-SCJ
MARK R. MEADOWS,
                                                  RE: NOTICE OF REMOVAL OF
                                                  FULTON COUNTY SUPERIOR
 Defendant.                                           COURT INDICTMENT
                                                        NO. 23SC188947


                                           ORDER

        This matter appears before the Court following Defendant Mark R.

Meadows’s filing of a Notice of Removal. Doc. No. [1]. 1 This Order addresses a

relatively narrow question: Has Meadows carried his burden of demonstrating

that removal of the State of Georgia’s criminal prosecution against him is proper

under the federal officer removal statute, 28 U.S.C. § 1442(a)? Having considered

the arguments and evidence, the Court concludes that Meadows has not met his

burden. Therefore, the Court DECLINES to assume jurisdiction over the State’s




1 All citations are to the electronic docket unless otherwise noted, and all page numbers

are those imprinted by the Court’s docketing software.
     Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 2 of 49




criminal prosecution of Meadows under 28 U.S.C. § 1455 and REMANDS the

case to Fulton County Superior Court. 2

        Because the Court lacks jurisdiction over this matter, the Court DIRECTS

the Clerk to TERMINATE all pending motions and CLOSE this case.

I.      BACKGROUND

        Meadows served as the White House Chief of Staff. 3 Defendant’s Exhibit

(“DX”) 1. His tenure began on March 31, 2020 and ended on January 20, 2021,

when President Biden assumed the Office of President of the United States. Id.;

Doc. No. [65] (“Hearing Tr.”) Tr. 9:22–10:3.

        On August 14, 2023, a Fulton County, Georgia Grand Jury returned an

indictment charging 19 Defendants with various crimes related to alleged post-

election interference with the 2020 presidential election in Georgia (“the



2 Despite using the term “remand” the Court has not actually assumed jurisdiction over

this case under Section 1455, and the State proceedings are ongoing. Nevertheless,
Section 1455 itself conceives of some form of remand, 28 U.S.C. § 1455(b)(4), and other
federal courts who have failed to find that federal jurisdiction exists over a criminal
prosecution have “remanded” the prosecution to the state court. See, e.g., New York v.
Trump, ---F. Supp. 3d----, No. 23 CIV. 3773 (AKH), 2023 WL 4614689, at *1 (S.D.N.Y. July
19, 2023).
3 Meadows’s commission lists his official title as Assistant to the President and Chief of

Staff. See DX 1. For consistency in this Order, the Court will use the term “White House
Chief of Staff” to encompass Meadows’s full title of “Assistant to the President and
Chief of Staff.”
                                          2
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 3 of 49




Indictment”). Doc. No. [1-1]. The Indictment charged all Defendants with

conspiracy under the Georgia Racketeer Influenced and Corrupt Organizations

(“RICO”) Act, O.C.G.A. § 16-14-4(c). Doc. No. [1-1], 13 (Count 1). It also charged

different co-Defendants with other various criminal violations. See generally

Doc. No. [1-1], 72–97 (Counts 2–41).

      The Indictment charges Meadows specifically with the RICO conspiracy,

O.C.G.A. § 16-14-4(c), and solicitation of violation of oath by a public officer,

O.C.G.A. §§ 16-14-7 & 16-10-1. Doc. No. [1-1], 13 (Count 1), 87 (Count 28).

Meadows argues that the charges against him relate to the scope of his official

duties and that he has colorable federal defenses. See, generally Doc. No. [1].

Based on those arguments, on August 15, 2023, Meadows filed his Notice of

Removal of the criminal prosecution in this Court. Id.

      Relying on 28 U.S.C. § 1455, Meadows asserts federal officer jurisdiction

under 28 U.S.C. § 1442. See, generally id. The Court declined to summarily

remand Meadows’s removal action and ordered an evidentiary hearing be held

on the Notice of Removal on August 28, 2023, pursuant to Section 1455(b)(5). Doc.

No. [6]. The Court also ordered the State to respond to Meadows’s Notice of

Removal (id.), which it did on August 23, 2023 (Doc. No. [27]). Meadows replied


                                       3
    Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 4 of 49




on August 25, 2023. Doc. No. [45]. The same day, the Court permitted amicus

curiae to file a brief in support of declining jurisdiction. Doc. Nos. [54]; [55].

       Before the hearing, Meadows filed a Motion to Dismiss (Doc. No. [15]) and

an Emergency Motion to enjoin his arrest in Fulton County, Georgia (Doc. No.

[17]). The Motion to Dismiss remains outstanding on the Court’s Docket. The

Court denied Meadows’s Emergency Motion under 28 U.S.C. § 1455(b)(3), which

expressly mandates that the state court criminal proceeding continues until the

federal court notifies the state court that it has assumed federal jurisdiction over

the prosecution. Doc. No. [25].

       On August 28, 2023, the Court held a hearing on Meadows’s Notice of

Removal. Doc. No. [62]. Meadows personally testified 4 and, through counsel,

admitted a number of exhibits, including two declarations of persons who




4
 At a criminal trial, the State has the burden of proof. Thus, at a criminal defendant’s
trial on the merits, he never has the obligation of presenting a defense or testifying, and
those choices can never be held against him. U.S. Const. amend. V. For a notice of
removal, however, the Defendant has the burden of establishing subject matter
jurisdiction. 28 U.S.C. § 1455(b)(5); See Leonard v. Enter. Rent a Car, 279 F.3d 967, 972
(11th Cir. 2002) (“A removing defendant bears the burden of proving proper federal
jurisdiction.”); cf. also Maryland v. Soper, 270 U.S. 9, 34 (1926) (discussing defendant’s
testifying in support of their notice of removal of a criminal indictment) (collecting
cases).


                                          4
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 5 of 49




worked in the White House at the time he was the White House Chief of Staff

and were familiar with his role in the administration as Chief of Staff. The State

called Kurt Hilbert, an attorney who represented President Trump and the

Trump campaign in 2020, and Georgia Secretary of State, Brad Raffensperger.

The State also admitted a number of exhibits, including an audio recording of the

January 2, 2021 phone call between President Trump, Secretary Raffensperger,

and others, in which Meadows participated. State’s Exhibit (“SX”) 3.

      At the conclusion of the hearing, the Court took the matter of its

jurisdiction over the criminal prosecution under advisement. The Court

subsequently ordered post-hearing briefing regarding the role of the

Indictment’s alleged overt acts for purposes of determining applicability of the

federal officer removal statute. Doc. No. [63]. The Parties timely submitted the

requested briefing. Doc. Nos. [66]; [67]. Having considered the arguments put

forth by the Parties, the evidence submitted at the evidentiary hearing, and the

briefing on this matter, the Court now enters this Order concluding that the Court

lacks federal jurisdiction over Meadows’s criminal prosecution.




                                      5
      Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 6 of 49




II.      LEGAL STANDARD

         “[A] federal district court should be slow to act ‘where its powers are

invoked to interfere by injunction with threatened criminal prosecutions in a

state court.’” Cameron v. Johnson, 390 U.S. 611, 618 (1968) (quoting Douglas v.

City of Jeannette, 319 U.S. 157, 162 (1943)). There is a “strong judicial policy

against federal interference with state criminal proceedings.” Arizona v.

Manypenny, 451 U.S. 232, 243 (1981) (quoting Huffman v. Pursue, Ltd., 420 U.S.

592, 600 (1975)).

         An exception to those general concepts of federalism is the federal officer

removal statute, 28 U.S.C. § 1442(a)(1). That statute, allows for federal jurisdiction

over “a criminal prosecution . . . against . . . any officer (or any person acting

under that officer) of the United States . . . for or relating to any act under color

of such office.” Federal officer removal “is an incident of federal supremacy and

is designed to provide federal officials with a federal forum in which to raise

defenses arising from their official duties.” Florida v. Cohen, 887 F.2d 1451, 1453

(11th Cir. 1989) (citing Willingham v. Morgan, 395 U.S. 402, 405 (1969)). However,

because of a preference for state courts conducting their state prosecutions,

removal of a state criminal prosecution requires a “more detailed showing” of


                                        6
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 7 of 49




the relation between the acts charged and the federal role at issue. Willingham v.

Morgan, 395 U.S. 402, 409 n.4 (1969). Furthermore, federal courts must maintain

a balance between what Section 1442 allows and respect for a State’s right to deal

with matters properly within its domain.

      Meadows removed this criminal prosecution under 28 U.S.C. § 1455, which

provides the procedure for removing a state criminal prosecution to a federal

district court. “28 U.S.C. § 1455 ‘merely provides procedures that must be

followed in order to remove a criminal case from state court when a defendant

has the right to do so under another provision.’” Maine v. Counts, No. 22-1841,

2023 WL 3167442, at *1 (1st Cir. Feb. 16, 2023) (quoting Kruebbe v. Beevers, 692

F. App’x 173, 176 (5th Cir. 2017) (per curiam)). Upon filing a notice of removal,

the Court must promptly determine whether the notice and its attachments

clearly fail to establish the Court’s subject matter jurisdiction, and if they do, the

case is summarily remanded to state court. 28 U.S.C. § 1455(b)(4). If summary

remand is not granted, then the district court must “promptly” hold an

evidentiary hearing to determine the “disposition of the prosecution as justice

shall require.” Id. § 1455(b)(5). Based on the facts adduced at the hearing and the

arguments put forth by the Parties, the Court must determine whether the


                                        7
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 8 of 49




Defendant has met his burden in establishing that the Court has subject matter

jurisdiction over his criminal prosecution. Trump, 2023 WL 4614689, at * 5 (citing

United Food & Comm. Workers Union v. CenterMark Props. Meriden Square,

Inc., 30 F.3d 298, 301 (2d Cir. 1994)).

      Under 28 U.S.C. § 1442, the question of the scope of a federal officer’s

authority contains issues of law and fact. See Nadler v. Mann, 951 F.2d 301, 305

(11th Cir. 1992) (“[D]etermination[s] of whether an employee’s actions are within

the scope of his employment involve[ ] a question of law and fact.”).

      Ultimately, for removal under Section 1455 to be proper, the removing

party must show that there is a basis for the federal court to exercise jurisdiction

over the criminal prosecution. See Leonard, 972 F.3d at 972 (“A removing

defendant bears the burden of proving proper federal jurisdiction.”). If the Court

lacks federal jurisdiction, then the case cannot proceed in this forum.

      The Supreme Court has cautioned that “an airtight case on the merits in

order to show the required causal connection” is not required and that courts are

to “credit” the movant’s “theory of the case” for the elements of the jurisdictional




                                          8
   Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 9 of 49




inquiry. 5 Jefferson Cnty. v. Acker, 527 U.S. 423, 432 (1999). “The point is only that

the officer should have to identify as the gravamen of the suit an act that was, if

not required by, at least closely connected with, the performance of his official

duties.” Id. at 447 (Scalia, J., dissenting).

III.   ANALYSIS

       To determine whether Meadows is able to remove based on federal officer

jurisdiction pursuant to 28 U.S.C. § 1442(a)(1), the Court must answer the

following questions: (1) whether Meadows was a federal officer during the time

of the allegations in the Indictment, (2) whether the charged conduct in the

criminal prosecution were undertaken for or related to Meadows color of office, 6

and (3) whether Meadows has put forth a colorable federal defense for the




5 The Court notes that this language in Acker refers to the colorable defense prong of

the analysis. 527 U.S. at 432. It is unclear whether the theory of the case language applies
to the second prong of the analysis. Nevertheless, the Court will evaluate the theory of
the case as it relates to the color of office because at least one district court recently has
applied it in this manner. See Georgia v. Heinze, 637 F. Supp. 3d 1316, 1322 (N.D. Ga.
2022).
6 Acts taken under color of office, must be either “vested with, or appear to be vested

with, the authority entrusted to that office.” Color of Office, Black’s Law Dictionary
(11th ed. 2019).


                                            9
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 10 of 49




criminal prosecution. Caver v. Cent. Ala. Elec. Coop., 845 F.3d 1138, 1142 (11th

Cir. 2017).

         The State concedes that at the time of the events alleged in the Indictment,

Meadows was a federal officer and his role was the White House Chief of Staff.

Hearing Tr. 251:12–17. Thus, the Court must next evaluate the second question

of whether the acts in the Indictment relate to his role as White House Chief of

Staff.

         To determine whether the charged conduct was undertaken for, or related

to Meadows’s color of office, the Court must: (A) define the act(s) allegedly

undertaken by Meadows in the Indictment, (B) ascertain the scope of the federal

officer role of the White House Chief of Staff, and (C) analyze whether Meadows

showed that the act(s) in the Indictment were for or related to the role of the

White House Chief of Staff.

         A.    The Federal Officer Removal Statute

         The Court must define what constitutes an “act” under 28 U.S.C.

§ 1442(a)(1). Then, the Court must assess how the “act” functions under the RICO




                                         10
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 11 of 49




statute. Finally, the Court will establish the contours of the act as they relate to

Meadows in the Indictment. 7

              1.     Section 1442: The Text and Precedent

       The pertinent portion of § 1442(a)(1) provides: “[a] . . . criminal

prosecution that is commenced in a State court and that is against or directed

to . . . any officer . . . of the United States . . . in an official or individual capacity,

for or relating to any act under color of such office” “may be removed by them

to the district court of the United States.” The phrase “for or relating to any act

under color of such office” modifies the earlier clause, “[a] criminal

prosecution . . . that is directed against or directed to an officer” of the United

States. 28 U.S.C. § 1442(a)(1). This structure indicates that the criminal

prosecution must arise from an act that is for or relating to the color of a federal

office. Even if a criminal defendant can characterize individual instances of

behavior as part of his official duties within the broader charged conduct, this is

not enough to convey subject matter jurisdiction on this Court. Put differently,




7 This Court primarily focuses on the Indictment’s RICO charge because the other

charge against Meadows, soliciting a violation of an oath by a public official, is also
alleged as an overt act (with evidence submitted) in support of the RICO charge.
Compare Doc. No. [1-1], 50 (Overt Act 112), with id. at 87 (Count 28).
                                           11
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 12 of 49




facts indicating that a criminal defendant at times operated under the scope of

his federal office will not provide this Court with subject matter jurisdiction

under Section 1442 unless the State is criminally prosecuting the officer for those

specific acts.

       This interpretation is consistent with other courts’ analyses. Specifically,

courts have looked at whether the “claims” or the “charges” related to acts taken

within the scope of the federal office. 8 In Nadler, the Eleventh Circuit suggested

that the district court had subject matter jurisdiction where “one claim is

cognizable under Section 1442 . . . .” 951 F.2d at 306 n.9 (emphasis added)

(quoting National Audubon Soc. v. Dep’t of Water & Power, 496 F. Supp. 499,

509 (E.D. Cal. 1980)). Therefore, the Court looks at (1) what the charges are against

the federal officer, and (2) whether the charged conduct is for or relates to the

color of the federal office.

       The cases cited by Meadows support the proposition that courts look to the

whole “claim” alleged, not just isolated facts supporting the claim, to determine




8 “Claims” in civil actions correspond to “charges” in criminal prosecutions. Cf. Kellogg

Brown & Root Srvs. v. United States, 575 U.S. 650, 653 (2015) (“[W]e must
decide . . . whether the Wartime Suspension of Limitations Act applies only to criminal
charges or also to civil claims.” (emphasis added)).
                                         12
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 13 of 49




whether Section 1442 has been satisfied. Doc. No. [67], 2 nn.1–3; see also Heinze,

637 F. Supp. 3d at 1323 (“[A] federal officer can remove a criminal proceeding

commenced in a State court where the criminal charges involve actions taken ‘in

an official or individual capacity . . . .’” (quoting 28 U.S.C. § 1442(a)(1) (emphasis

added));    Ladies    Mem’l     Ass’n     Inc.   v.   City    of   Pensacola,     No.

3:20CV5681/MCR/ZCB, 2023 WL 2561785, at *3 (N.D. Fla. Mar. 17, 2023) (“If the

complaint contains ‘even one federal claim[,]’ then the defendant has ‘the right to

remove the entire case.’” (alteration in original) (emphasis added) (quoting

Convent Corp. v. City of N. Little Rock, 784 F.3d 479, 483 (8th Cir. 2015))); Sawyer

v. Foster Wheeler LLC, 860 F.3d 249, 257 (4th Cir. 2017) (finding removal where

an officer asserts a federal defense to even one claim). Thus, the Court looks at the

criminal charge to determine whether the charge relates to the scope of

Meadows’s federal office.

      “To satisfy the [scope of federal office] requirement, the officer must show

a nexus, ‘a causal connection, between the charged conduct and asserted official

authority.” Acker, 527 U.S. at 431 (quoting Willingham, 395 U.S. at 409). The

Supreme Court has articulated the following test for the “under color of office”

requirement:


                                        13
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 14 of 49




            There must be a causal connection between what the
            officer has done under asserted official authority and the
            state prosecution. It must appear that the prosecution of
            him, for whatever offense, has arisen out of the acts done
            by him under color of federal authority and in
            enforcement of federal law, and he must by direct
            averment exclude the possibility that it was based on acts
            or conduct of his not justified by his federal duty.

Mesa v. California, 489 U.S. 121, 131–32 (1989) (quoting Soper, 270 U.S. at 32).

Under Eleventh Circuit jurisprudence, a key factor in determining applicability

of the federal officer removal statute “is whether there is a causal connection

between [the State’s charges] and an act of Defendant [] that forms the basis of

those claims.” Caver, 845 F.3d at 1144.

      The Court notes that the RICO charge against Meadows presents a novel

question in this case. Most cases invoking federal officer removal involve claims

based on discrete actions taken by a defendant. For example, in Heinze, the

defendants were charged with the discrete acts of felony murder, aggravated

assault with a deadly weapon, burglary, false statements, and violation of oath

by a public officer.” 637 F. Supp. 3d at 1318, nn.1–2. A RICO conspiracy,

alternatively, involves wide-ranging allegations of licit and illicit activities,

undertaken by an association of individuals, and in furtherance of a criminal

enterprise. See Section (III)(A)(1) infra. The State’s prosecution in this case is
                                      14
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 15 of 49




illustrative: the conspiracy charged here is alleged to have occurred over many

months, included at least 19 individuals, and encompassed 161 overt acts. Doc.

No. [1-1].

      Although RICO conspiracies are rarely removed under Section 1442, the

Court is not without some precedent to guide the analysis. In 1982, the Eleventh

Circuit evaluated whether an FBI agent, as a federal officer, had a federal

immunity defense under the Supremacy Clause against a Georgia RICO charge.

Baucom v. Martin, 677 F.2d 1346, 1347–48 (11th Cir. 1982). 9 The Eleventh Circuit

affirmed the district court, who found that the sole overt act alleged against the

FBI agent related to bribing a state court judge. Id. at 1348–51. The district court

found, and the Eleventh Circuit affirmed, the conduct charged against the FBI

agent was taken within the scope of the agent’s federal office because the bribery

occurred during the execution of a state and federal criminal investigation into

judicial corruption. Id.




9 Baucom was not a removal case. Rather, it was a federal suit filed by the officer to

preemptively prevent the commencement of a state criminal prosecution. Baucom, 677
F.2d 1346.
                                        15
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 16 of 49




      On the other hand, the Fourth Circuit Court of Appeals held that the

district court did not err in declining to exercise jurisdiction under Section 1442

where “the heart of [the plaintiff]’s claims” did not relate to the scope of federal

duty. Mayor & City Council of Balt. v. BP P.L.C., 31 F.4th 178, 234 (4th Cir. 2022).

In that case, the civil complaint alleged that the defendants, as agents of the

United States, contributed “to climate change by producing, promoting, selling,

and concealing the dangers of fossil[-]fuel products.” Id. at 233 (alteration in

original). The Fourth Circuit affirmed the district court’s finding that defendants

did not show a basis for federal officer removal by looking at the complaint as a

whole. The Fourth Circuit determined that while some activities were arguably

within the scope the federal office (i.e., the production and concealment of

hazardous fossil fuels was controlled or directed by a federal officer), the “lack

of federal control over the production and sale of all fossil-fuel products is

relevant to the nexus analysis.” Id. at 234. Moreover, even if production and sales

were controlled or directed by a federal officer, the “heart” of the claims asserted

was concealment and misrepresentation—which did not remove to the

defendant’s official duties. Id. Ultimately, the Fourth Circuit concluded that the

activities relating to the official duties (i.e., production and sales) were “too


                                       16
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 17 of 49




tenuous” to the allegations of concealment and misrepresentation “to support

removal under § 1442.” Id. at 234.

      Thus, under the text of the statute, binding authority, and persuasive

authority, the Court finds that “act” in the federal officer removal statute is best

defined as the “heart” of the criminal charge. BP PLC, 31 F.4th at 234. With this

in mind, the Court now turns to the charges at issue in this case.

             2.     The Georgia RICO Charge

      The Indictment charges Meadows and his 18 Co-Defendants with

engaging in a RICO conspiracy to violate RICO statute. RICO statute provides

that it is unlawful “to conspire or endeavor to [‘conduct or participate in, directly

or indirectly, such enterprise through a pattern of racketeering activity’.]”

O.C.G.A. § 16-14-4(c) (quoting id. § 16-14-4(b)). An “enterprise” is defined as

“any person . . . or association, or group of individuals associated in fact although

not a legal entity[.]” Id. § 16-14-3(3). The enterprise itself need not be illicit. Id.

For purposes of this case, a “[p]attern of racketeering activity” requires at least

two acts of racketeering activity with “same or similar intents, results,

accomplices, victims, or methods of commission or otherwise are interrelated by

distinguishing characteristics and are not isolated incidents[.]” Id. § 16-14-3(4).


                                        17
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 18 of 49




“Racketeering activity” includes the commission (or attempted commission or

solicitation, coercion, or intimidation of another to commit) of a variety of

Georgia criminal statutes. See id. § 16-14-3(5)(A). It also can include violations of

certain types of state or federal laws outside the State of Georgia. Id. § 16-14-

3(5)(B)–(C).

      The RICO conspiracy charge only requires, at the least, that one co-

conspirator commit an “overt act to effect the object of the conspiracy[.]” Id. § 16-

14-4(c)(1). While not specifically defined in the RICO statute, the Georgia

Supreme Court has indicated that an overt act under the general conspiracy

provision, O.C.G.A. § 16-14-8, means “a specific type of open or manifest act

made in furtherance of a conspiracy to commit a crime.” Bradford v. State, 285

Ga. 1, 4, 673 S.E.2d 201, 204 (2009). Critically, for conspiracy crimes, “the

indictment [need not] set forth the particulars of the overt act.” State v. Pittman,

302 Ga. App. 531, 535, 690 S.E.2d 661, 664 (2010) (quoting Bradford v. State, 283

Ga. App. 75, 78, 640 S.E.2d 630, 633 (2006), rev’d on other grounds Bradford, 285

Ga. at 1, 673 S.E. at 203). Indeed, “the government is not required to prove the

overt act specified in the indictment.” Nordahl v. State, 306 Ga. 15, 26, 829 S.E. 2d

99, 109 (2019). Nor, must the State ultimately prove that each co-conspirator


                                       18
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 19 of 49




defendant committed an overt act, so long as one co-conspirator committed overt

acts in furtherance of the conspiracy. Cf. Thomas v. State, 215 Ga. App. 522, 523,

451 S.E.2d 516, 517 (1994).

      In sum, to establish a RICO conspiracy the State only need prove that any

co-conspirator committed one overt act in furtherance of the conspiracy, whether

the overt act was specifically charged in the Indictment or not. In other words,

the State can prove its RICO charge against Meadows by showing any one of his

co-Defendants committed any overt act in furtherance of the conspiracy—

whether that overt act is in the Indictment or not.

      The overt acts alleged against Meadows specifically “includ[e] but are not

limited to” (Doc. No. [1-1], 20): attending a meeting with President Trump and

Michigan officials about election fraud in Michigan (id. at 21 (Overt Act 5)),

messaging a United States Representative from Pennsylvania (id. at 21 (Overt Act

6)), meeting with Pennsylvania legislators about an election-related special

session (id. at 22 (Overt Act 9)), requesting a memo regarding “disrupting and

delaying the joint session of Congress on January 6, 2021” when electors’ votes

were to be counted (id. at 24 (Overt Act 19)), physically attending and observing

a nonpublic Georgia election audit and recount (id. at 44 (Overt Act 92)),


                                       19
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 20 of 49




arranging a phone call between President Trump and the Georgia Secretary of

State’s Chief Investigator regarding the Georgia presidential election results (id.

(Overt Act 93)), messaging the Chief Investigator about the potential for a quicker

signature verification of the Fulton County election results if “the [T]rump

campaign assist[ed] financially” (id. at 45 (Overt Act 96)), and soliciting Georgia

Secretary of State Brad Raffensperger to violate his oath of office by altering the

certified returns for presidential electors (id. at 50 (Overt Act 112); see also id. at

87 (Count 28 against Meadows under O.C.G.A. §§ 16-14-7 & 16-10-1)).

      While the Indictment’s named overt acts are not elements of the RICO

conspiracy charged, the Court still finds that they are relevant evidence of

whether Meadows’s association with the enterprise related to his role as White

House Chief of Staff. See Section (III)(C)(2) infra.

      To clarify, under Georgia RICO, the overt acts are not elements of the RICO

charge. They are used to illustrate the existence of the conspiracy and the various

alleged co-conspirators’ association with the conspiracy. Georgia law makes clear

that the State need not prove the existence of any particular overt act to prove its

RICO claim, nor must the State prove any of the overt acts that are currently

alleged in the Indictment. Because the “act” as defined by Section 1442(a)(1)


                                        20
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 21 of 49




means the charge against Meadows—under Georgia’s RICO statute—his

criminal prosecution is removable when his association with the conspiracy

relates to the color of his federal office.

             3.       The Alleged Act Taken for Purposes of Federal Officer
                      Removal

      Federal officer removal is appropriate when the gravamen, or “heart” of

the charge relates to the federal office. BP P.L.C., 31 F.4th at 234. As stated above,

the Court determines that the actual “act” alleged against Meadows is the RICO

charge, not the overt acts. Section 1442 requires the Court to determine if

Meadows was acting within the scope of his federal office in the alleged act of

associating with a conspiracy to violate various Georgia criminal statutes. Put

differently, the act at issue for purposes of the Indictment’s RICO charge is

Meadows’s alleged association with the conspiracy. The overt acts, however, “by

and large . . . only serve to tell a broader story about” the conspiracy to

“unlawfully change the outcome of [the 2020 presidential] election in favor of

[President] Trump” but they are “not the source of [criminal] liability.” Id. at 233;

Doc. No. [1-1], 14.

      The Court acknowledges that, even though it was not required, the State

chose to include these overt acts in the Indictment. Unsurprisingly, Meadows
                                         21
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 22 of 49




structured his evidentiary presentation to the Court and his briefing around the

eight overt acts in which he is mentioned. Following the hearing, the Court itself

ordered supplemental briefing on the issue of whether a finding that some, but

not all overt act(s) involving Meadows acting under color of federal office was

enough to trigger the removal statute. Doc. No. [63]. And to be sure, defining

Meadows’s “act” as associating with the alleged RICO conspiracy does not

preclude assessing the overt acts alleged. See Baucom, 677 F.2d at 1346

(evaluating the overt acts alleged against the FBI agent to determine whether his

involvement in the conspiracy was for his federal duties). Accordingly, the

Court’s subsequent discussion of the “relating to” requirement for federal officer

removal includes an analysis of the overt acts in order to determine whether

Meadows’s association with the alleged conspiracy (the conduct for which he

was charged) related to the scope of his federal duties.

      Because the inquiry hinges on whether Meadows’s association with the

conspiracy related to the color of his office, however, jurisdiction is not conferred

simply because a single overt act relates to Meadows’s federal office. After all,

the Indictment alleges a series of associative acts spanning over a year, and the

overt acts attributed to Meadows span three months. Doc. No. [1-1], 15–71.


                                       22
     Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 23 of 49




Undoubtedly, during that time Meadows performed actions for or that related to

the color of his office. But the relevant inquiry is what activities go the heart of

Meadows’s participation in the enterprise and whether those activities relate to

the scope of his federal office. If they do not, then Meadows cannot satisfy his

burden of establishing subject matter jurisdiction under the federal officer

removal statute.

        B.    Meadows’s Role as a Federal Officer

        Having defined the “act” at issue for federal officer removal, the Court

now turns to Meadows’s federal office and its scope. This inquiry is necessary

because the authority of Meadows’s office will dictate the scope of the duties

associated with that role. At the evidentiary hearing, Meadows testified broadly

to the scope of his role as White House Chief of Staff; he also offered two

declarations to further describe the Chief of Staff’s role. Hearing Tr. 9:8

(commencing Meadows’s testimony), 156:19–158:24 (admitting the two

declarations as DX 3 and 4). 10 Meadows also testified about his role specifically

in reference to the Indictment’s overt acts.



10The Court admitted these declarations over the State’s objection and indicated that it
would assess the weight to be given the declarations given they are unsworn and

                                         23
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 24 of 49




             1.     The White House Chief of Staff Role

      Meadows was the White House Chief of Staff and Assistant to President

Trump from March 30, 2020 until January 20, 2021. DX 1; Hearing Tr. 9:25–10:3.

His official title was “[A]ssistant to the President and Chief of Staff.” Id. at 13:8–

10; DX 1. He described himself as “the senior official in charge of the Executive

Office of the President.” Hearing Tr. 14:3–5; see also DX 3 ¶ 3 (indicating

Meadows had “broad responsibilities” including “advising and assisting the

President and managing the staff of the White House Office within the Executive

Office of the President”); DX 4 ¶ 4 (asserting that Meadows “[was] responsible

for keeping the trains running on time for the White House [and] the Executive

Branch of the federal government”). Meadows described his position to require

“oversee[ing] all the federal operations,” which extended to actions taken inside

of and outside of the West Wing. Hearing Tr. 13:10–12.

      Specifically, Meadows testified that he was part of “almost every meeting”

with the President, either as a “principal” or as an “observer.” Id. at 16:8–10; DX




unnotarized. Hearing Tr. 158:23–24. In this Order, the Court considers these
declarations but affords their contents most weight when corroborated by other
testimony or evidence.
                                        24
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 25 of 49




4 ¶ 6 (“Meadows’s general practice was to attend many but not all the meetings

between the President and other parties, regardless of subject matter.”). In

meetings, “principals” may “have a particular position” regarding a “particular

issue” and would “try to show the pros and cons of [the] arguments so that some

resolution could be made.” Hearing Tr. 19:1–8. Even as an “observer,” he

attended the President’s meetings because his job required him to “try to be

aware of everything [in the meeting] . . . even if [he] was not a principal[.]”

Hearing Tr. 16:10–15; DX 4 ¶ 5 (“Meadows was responsible for administering the

planning and scheduling of the President’s meetings, telephone conferences, and

other engagements, regardless of subject matter.”). These meetings might include

“members of Congress, other executive branch officials[, and] state or local

government officials.” Hearing Tr. 21:12–20; see also DX 3 ¶ 5 (indicating the

Chief of Staff was “responsible for managing the President’s calendar, arranging

meetings, calls, and other discussions with federal, state, and local officials, as

well as private citizens”).

      Meadows testified that as Chief of Staff he had to “be aware of the

President’s schedule.” Hearing Tr. 19:16. This meant he would “move meetings

along . . . do the wrap-up . . . and bring things to a close where there was an


                                      25
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 26 of 49




action item[.]” Id. at 19:16–22. If other executive branch staff were in the meeting

to ensure it efficiently ended, then Meadows’s involvement might be limited to a

“quick pop in” on the meeting. Id. at 20:19–25.

      Meadows asserts that another function of Meadows’s role as White House

Chief of Staff was “to be generally aware of what’s going on” because he often

was called upon to give the President advice. Id. at 19:23–20:7, 45:8–11. It also

helped Meadows “prioritize [the President’s] time” and “skate to where the

p[uck] is” on certain issues. Id. at 33:20–24.

      Meadows also testified that as White House Chief of Staff he was bound

by the Hatch Act 11 and he could not engage in political activity. Hearing Tr. 39:7–

25; 135:21–136:5. As discussed more fully below, the Hatch Act prohibits “an

employee” from “us[ing] his official authority or influence for the purpose of

affecting the result of an election.” 5 U.S.C. § 2732(a)(1). This includes, “[u]sing

his or her official title while participating in political activity.” 5 C.F.R. §

734.302(b)(2). And political activity is defined as, “activity directed toward the




11 To be clear, no Hatch Act violation has been charged against Meadows. And the Court

is not determining if Meadows violated the Act, or if there is any merit to a potential
Hatch Act claim.
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  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 27 of 49




success or failure of a political party, candidate for partisan political office, or

partisan political group.” Id. § 734.101.

      The Court finds that the color of the Office of the White House Chief of

Staff did not include working with or working for the Trump campaign, except

for simply coordinating the President’s schedule, traveling with the President to

his campaign events, and redirecting communications to the campaign. Thus,

consistent with his testimony and the federal statutes and regulations, engaging

in political activities is exceeds the outer limits of the Office of the White House

Chief of Staff.

             2.    Meadows’s Testimony and Theory of the Case

      Meadows’s theory of the case is that he is entitled to immunity because the

Indictment relates to his role as White House Chief of Staff. Doc. No. [1]. As part

of his direct and cross examination testimony, Meadows addressed how the overt

acts related to his specific federal role as the White Chief of Staff. Ultimately,

Meadows concluded that, based on the topics and circumstances discussed in his

testimony, he had not done anything outside the scope of his role as the White

House Chief of Staff. Hearing Tr. 111:18–19. However, he did admit that there




                                       27
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 28 of 49




could be activities the President requested which would be outside of the scope

of the role a. Id. at 112:15–113:11.

      While the Court credits Meadows’s testimony about his role as White

House Chief of Staff, it will give greater weight to the testimony of specific tasks

that he outlined as within the scope of his office (i.e., time management, attending

meetings, briefing the President, etc.). Meadows testified consistently about these

duties on both direct and cross-examinations. Additionally, these duties are

corroborated by the Declarations filed in support of Meadows’s Notice of

Removal (DXs 3, 4). However, the Court gives less weight to his assertions that

all actions he took were within the scope of his office. When questioned about the

scope of his authority, Meadows was unable to explain the limits of his authority,

other than his inability to stump for the President or work onbehalf of the

campaign. Hearing Tr. 111:12–113:6. The Court finds that Meadows did not

adequately convey the outer limits of his authority, and thus, the Court gives that

testimony less weight. 12



12 In this case, Meadows was the main witness presenting testimony for his case. Thus,

the Court must determine the appropriate amount of weight to assign to his testimony
when evaluating it, the same as it does any other witness in an evidentiary hearing.
However, given the nature of the motion, and the pending criminal proceedings the

                                        28
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 29 of 49




      C.     RICO: Meadows Was Not Acting Under Color of Office

      The Court now turns to whether the acts alleged against and taken by

Meadows are related to the color of his office as White House Chief of Staff. It

ultimately concludes that the relevant acts are outside the scope of Meadows’s

federal office.

             1.     Federal and Statutory Limitations Regarding the Scope of the
                    Office of White House Chief of Staff

                      a)    Constitutional requirements

      The Constitution does not provide any basis for executive branch

involvement with State election and post-election procedures. The Elections

Clause expressly reserves the “Times, Places, and Manner” of elections to state

legislatures. U.S. Const. art. I, § 4, cl. 1; see also Shelby Cnty. v. Holder 570 U.S.

529, 543 (2013) (“[T]he Framers of the Constitution intended the States to keep for

themselves, as provided in the Tenth Amendment, the power to regulate

elections.” (quoting Gregory v. Ashcroft, 501 U.S. 452, 461–62 (1991)); U.S. Term




Court makes these decisions with great caution. The determinations here do not go to
Meadows’s propensity to be truthful as a general matter. However, the Court cannot
undertake the task assigned by 28 U.S.C. § 1455(b)(5) without assigning the appropriate
weight to the testimony.
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  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 30 of 49




Limits, Inc. v. Thornton, 514 U.S. 779, 833–34 (1995) (“[T]he Framers understood

the Elections Clause as a grant of authority [to state legislatures] to issue

procedural regulations, and not as a source of power to dictate electoral

outcomes, to favor or disfavor a class of candidates, or to evade important

constitutional restraints.”). States have been tasked under the Elections Clause to

“provide a complete code” for elections which ought to include “regulations

‘relat[ing] to . . . prevention of fraud and corrupt practices [and] counting of

votes . . . .’” Moore v. Harper, 600 U.S. ----, 143 S. Ct. 2065, 2085 (2023) (quoting

Smiley v. Holm, 285 U.S. 355, 366 (1932)). This is not a power incident to a State’s

police powers but “derives from an express grant in the Constitution.” Fish v.

Kobach, 840 F.3d 710, 727 (10th Cir. 2016).

      Courts have previously faced tough questions in cases involving

Congress’s power to use its lawmaking authority to oversee or empower the

States in their duties under the Elections Clause. Cf. e.g., id. at 725–26 (“The

Supreme Court has recently and repeatedly reaffirmed that ‘the power the

Elections Clause confers is none other than the power to pre-empt[ ]’ . . . ‘The

Clause is a default provision; it invests the States with responsibility for the

mechanics of congressional elections, but only so far as Congress declines to


                                       30
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 31 of 49




preempt state legislative choices.’” (quoting Arizona v. Inter Tribal Council of

Ariz., Inc., 571 U.S. 1, 14–15 (2013) (first quotation); Foster v. Love, 522 U.S. 67, 69

(1997) (second quotation))). Indeed, when the Supreme Court has discussed

federal power limiting States’ authority over elections, it has cited to congressional

power, not executive power. See, e.g., Shelby Cnty., 570 U.S. at 543.

       Conversely, there are no similar close calls presented when executive

authority is at issue. As a constitutional matter, executive power does not extend

to overseeing states’ elections. 13 Apart from spheres where federal supremacy




13 The only potential constitutional authority, the Take Care Clause, does not enable the

type of election oversight to which the State’s Indictment pertains. See U.S. Const. art.
II, § 3 (“[The President] shall take Care that the Laws be faithfully executed[.]”). Yet,
executive authority under the Take Care Clause “does not extend to government
officials over whom [the Executive] has no power or control.” Thompson v. Trump, 590
F. Supp. 3d 46, 78 (D.D.C. 2022). The Court accordingly rejects Meadows’s suggestion
that the Take Care Clause provides a basis for finding executive authority over state
election procedures. Doc. No. [45], 9–10.
        The Court is also unpersuaded by Meadows’s contention that his acts involving
state election procedures are within executive power to advise Congress. Doc. No. [45],
10. It would be inconsistent with federalism and the separation of powers, to find that
activities which are delegated to the states are also within the scope of executive power
because the executive branch may advise Congress. Cf. Fish, 840 F.3d at 725–26 (“The
[Elections] Clause is a default provision; it invests the States with responsibility for the
mechanics of congressional elections, but only so far as Congress declines to preempt state
legislative choices.” (quoting Foster, 522 U.S. at 69). The Court will not find that the
executive branch has some advisory authority in this space in light of the express
constitutional grant over elections to the States.
                                           31
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 32 of 49




supersedes, “States function as political entities in their own right.” Bond v.

United States, 564 U.S. 211, 221 (2011). Here, there is clear constitutional authority

delegating the procedures of elections to the States. See Const. art. I, § 4, cl. 1.

Thus, the executive branch cannot claim power to involve itself in States’ election

procedures when the Constitution clearly grants the States the power to manage

elections under the Elections Clause.

                     b)     Statutory requirements

      Statutorily, the Hatch Act is helpful in defining the outer limits of the scope

the White House Chief of Staff’s authority. The State argues, and Meadows

agrees, that he is bound by the Hatch Act, a law that prohibits federal employees

from engaging in political activity. Doc. No. [27]; Hearing Tr.136:3–5. While the

Court does not rely on the merits of a Hatch Act violation, it does recognize that

the Hatch Act provides that political activity is not included in the outer limits of

the role of the White House Chief of Staff. The Hatch Act prohibits executive

branch employees from “us[ing] [their] official authority or influence for the

purpose of interfering with or affecting the result of an election[.]”

5 U.S.C. § 7323(a)(1). The federal regulation governing political activities of

federal employees prohibits the same. 5 C.F.R. § 734.302(a). The regulation,


                                        32
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 33 of 49




moreover, broadly defines “political activity” to be “activity directed toward the

success or failure of a political party, candidate for partisan political office, or

partisan political group.” Id. § 734.101. The types of behaviors that Meadows is

alleged to be involved in included post-election activities and election outcomes

in various States pertaining to a particular candidate for office. If these potentially

political activities indeed come against the Hatch Act, its regulations limit such

efforts. These prohibitions on executive branch employees (including the White

House Chief of Staff) reinforce the Court’s conclusion that Meadows has not

shown how his actions relate to the scope of his federal executive branch office.

Federal officer removal is thereby inapposite.

             2.     Meadows’s Has Not Met His Burden in Establishing the
                    Acts Are Related to His Federal Office

      Even under the “quite low” bar for federal officer removal, the Court

concludes that Meadows has not met his burden to show that his criminal

prosecution can be removed under the federal officer removal statute. “Although

the words ‘acting under’ are ‘broad,’ the Supreme Court has emphasized that

they are not ‘limitless.’” BP PLC, 31 F.4th at 228–29 (quoting Watson v. Philip

Morris Cos., Inc., 551 U.S. 142, 150 (2007)); Acker, 527 U.S. at 447 (Scalia, J.,

dissenting) (opining that the act that forms the basis of “the gravamen of the
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  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 34 of 49




suit . . . [is] at least closely connected with, the performance of his official

functions.”).

      The Court concludes that Meadows has not met even the “quite low”

threshold for removal. Again, what the Court must decide for purposes of federal

officer removal is whether the actions Meadows took as a participant in the

alleged enterprise (the charged conduct) were related to his federal role as White

House Chief of Staff. The evidence adduced at the hearing establishes that the

actions at the heart of the State’s charges against Meadows were taken on behalf

of the Trump campaign with an ultimate goal of affecting state election activities

and procedures. Meadows himself testified that working for the Trump

campaign would be outside the scope of a White House Chief of Staff. Hearing

Tr. 113:2–6.

      As the Court has also explained, the overt acts are merely illustrative in

nature and not elements of the crimes charged against Meadows. Nevertheless,

the overt acts are set out in the Indictment and Meadows shaped his entire

evidentiary presentation around them. Therefore, the Court will assess each of

Meadows’s overt acts to factually determine if they fall within the scope of

Meadows role as a federal officer.


                                      34
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 35 of 49




      The Court finds Meadows only carried his burden in showing that one of

the eight overt acts attributed to Meadows could have occurred within the scope

of Meadows’s federal office. Overt Act 6 provides that Meadows “sent a text

message to United States Representative Scott Perry from Pennsylvania and

stated, ‘Can you send me the number for the speaker and the leader of PA

Legislature[?] POTUS wants to chat with them.’” Doc. No. [1-1], 21. Because

Overt Act 6 is phrased so broadly, it is conceivable that it encompasses an activity

that is within the scope of Meadows’s federal duties. Meadows testified that as

part of his role as Chief of Staff, he would retrieve phone numbers of various state

officials. Hearing Tr. 47:8–10 (“I was asked on a pretty regular occasion for

numbers . . . .”). The omission in the Indictment of the context Meadows sought

this phone number, when coupled with the testimony that retrieving phone

numbers for state officials was a routine part of his role as Chief of Staff, leaves

the Court to conclude Overt Act 6 arguably occurred within the scope of

Meadows’s duties as White House Chief of Staff.

      The Court finds that the evidence presented does not show that most of the

remaining overt acts were related to the scope of Meadows’s role as Chief of




                                       35
     Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 36 of 49




Staff. 14 The procedures States utilize to conduct elections and ensure results are

not part of the executive branch’s role or powers. See Section (III)(C)(1)(a) supra.

As a senior official in the executive branch, therefore, Meadows cannot have

acted in his role as a federal officer with respect to any efforts to influence,

interfere with, disrupt, oversee, or change state elections: those activities are

expressly delegated to the States.

        Overt Act 96 alleges that Meadows sent a text message to the Office of the

Georgia Secretary of State’s Chief Investigator Frances Watson 15 asking, “[i]s

there a way to speed up Fulton County signature verification in order to have

results before Jan 6 if the [T]rump campaign assists financially.” Doc. No. [1-1],

45. At the hearing, Meadows testified that no federal funds would be available to



14  At the hearing, Meadows disputed the merits of Overt Acts 9 and 19. Hearing Tr.
43:10–49:9, 73:18–22, 50:4–9. With respect to Overt Act 9, he disputed that he
participated in the November 25, 2020 meeting with the Pennsylvania Legislatures.
Hearing Tr. 43:10–49:9, 73:18–22. Similarly, Meadows disputed that he asked McEntee
for the memorandum as alleged in the Indictment. Hearing Tr. 50:4–9; Doc. No. [1-1], 24
(Overt Act 19). Meadows is not required to show that he is innocent of the charges
against him to successfully remove his case. Soper, 270 U.S. at 32–33. Neither is the State
required to prove the overt acts as part of its burden of proof at trial. See Section
(III)(A)(2) supra. Accordingly, to the extent necessary, the Court treats the evidence
propounded in support of Overt Acts 9 and 19 as neutral to the determination of
whether particular Overt Acts were within the scope of Meadows’s federal office.
15 At the hearing, Meadows testified that he believed the message was to Ms. Jordan

Fuchs, not Ms. Watson. Hearing Tr. 90:1–6.
                                          36
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 37 of 49




the Trump campaign to support this request. Hearing Tr. 93:10–12. Nevertheless,

Meadows testified that he was not speaking for the campaign in this message,

but that it was “in keeping of me trying to ask a person who should know

whether it’s a financial resource issue, you know, manpower issue or whatever.

So I wasn’t speaking on behalf of the campaign.” Id. at 93:3–6.

      Meadows failed to provide sufficient evidence that these actions related to

any legitimate purpose of the executive branch. The Court determines as a matter

of fact, making a request to the Georgia Secretary of State’s Office regarding a

possibility that the Trump campaign could provide financial resources to fund

the recount effort, even if not directly on behalf of the campaign, is still campaign-

related political activity. Thus, Meadows has not met his burden in establishing

that Overt Act 96 related to the scope of his official duties.

      Similarly, Overt Act 92 alleges that Meadows traveled to Cobb County,

Georgia where he “attempted to observe the signature match audit being

performed there by law enforcement officers from the Georgia Bureau of

Investigations and the Office of the Georgia Secretary of State.” Doc. No. [1-1],

44. Meadows testified that his actions with respect to this allegation were:

             in line with [his duties], because what I did was go to
             the Cobb County convention center to look at the
                                        37
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 38 of 49




             process that they were going through. And in doing so
             was trying to, again, check that box to say, all right,
             everything is being done right here, and so if there’s
             allegations of fraud, we need to move on to something
             else.

Hearing Tr. 152:4–17. The Court factually finds that Meadows overseeing State

election recount processes related to President Trump’s reelection campaign.

Meadows failed to provide sufficient evidence that these actions related to any

legitimate purpose of the executive branch. Accordingly, the Court finds

Meadows has not met his burden in establishing that Overt Act 92 is related to

scope of the Office of White House Chief of Staff.

      Overt Act 112 alleges that Meadows participated in the January 2, 2021

phone call with Donald Trump and Secretary Raffensperger to unlawfully solicit

the Secretary of State to alter the certified returns for the presidential electors for

the November 3, 2022 presidential election. Doc. No. [1-1], 51. At the hearing

Meadows rationalized his involvement in this call as seeking a compromise and

settlement of the Trump campaign’s suit against the State of Georgia. He testified

“this phone call, setting it up with the attorneys where they could find some kind

of compromise. . . .” Hearing Tr. 108:14–17. He acknowledged that the lawyers

on the phone call were lawyers for either the President Trump personally or the


                                        38
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 39 of 49




Trump campaign and that no lawyers from the Office of White House Counsel

or the Department of Justice were on the call. Id. at 107:11–108:1; 210:3. The

Supreme Court has instructed that involvement in private litigation is not part of

the executive branch’s role or powers. See Clinton v. Jones, 520 U.S. 681, 702 n.36

(1997). Therefore, based on the evidence presented, the Court finds that the

January 2, 2021 phone call was made regarding private litigation brought by

President and his campaign against the State of Georgia. It was therefore outside

Meadows’s federal role as an executive branch officer.

      Furthermore, another participant on the call, Raffensperger testified that

“[t]hose were Trump campaign lawyers [on the call], so I felt that it was a

campaign call.” Id. 210:2–3. In the same vein, Meadows’s participation in the

phone call clearly reflects campaign-related interests. He said:

      Mr. Secretary, obviously there is, there are allegations where we
      believe that not every vote or fair vote and legal vote was -- was --
      counted and that’s at odds with the representation from the
      secretary of state’s office. What I’m hopeful for is there some way
      that we can find some kind of agreement to look at this a little bit
      more fully. You know the president mentioned Fulton County. But
      in some of these areas where there seems to be a difference of where
      the facts seem to lead, and so Mr. Secretary, I was hopeful that, you
      know, in the spirit of cooperation and compromise is there
      something that we can at least have a discussion to look at some of
      these allegations to find a path forward that’s less litigious?


                                      39
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 40 of 49




SX 3, 12:49–14:00. The record is clear that Meadows substantively discussed

investigating    alleged   fraud    in   the   November     3,   2022   presidential

election. Therefore, the Court finds that these contributions to the phone call

with Secretary Raffensperger went beyond those activities that are within the

official role of White House Chief of Staff, such as scheduling the President’s

phone calls, observing meetings, and attempting to wrap up meetings in order to

keep the President on schedule. Rather, Meadows’s participation on the January

2, 2021 call was political in nature and involved the President’s private litigation,

neither of which are related to the scope of the Office of White House Chief of

Staff. By failing to adduce evidence that these actions related to any legitimate

purpose of the executive branch, Meadows did not satisfy the burden of showing

that these actions related to the color of his office.

      Finally, the Court finds that activities by Meadows—even if characterized

as scheduling meetings or phone calls or taken for the purpose of advising the

President—are “political activities” under the pertinent regulations if they were

for the purpose of furthering the common objective of success of a particular

presidential candidate. See 5 C.F.R § 734.101. Overt Acts 5 and 93 relate to

attending and scheduling meetings and placing phone calls. Doc. No. [1-1], 21–


                                         40
     Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 41 of 49




22, 44. The Court finds that the underlying substance of those meetings and calls

were related to political activities and not to the scope of Meadows’s federal

office.

          For the meeting with Michigan state officials, Meadows testified that he

recalled “most of that [meeting] had to do with allegations of potential [election]

fraud in Michigan . . . .”. 16 Hearing Tr. at 44:20–22; see also id. at 64:2–7. He also

acknowledged that “President Trump had a personal interest in the outcome of

the election in Michigan.” Id. at 63:12–15; see also id. at 64:8–13. Accordingly the

meeting in Overt Act 5 was outside the scope of his federal executive branch

office as they related to State election procedures following the presidential

election.

          The Court also finds that Overt Act 93 was outside the scope of Meadows’s

federal executive role. Overt Act 93 alleges that Meadows arranged a phone call

between President Trump and the Georgia Secretary of State’s Chief Investigator.



16 Meadows later testified that he did not know of any specific election challenge in
Michigan by the Trump campaign or the federal government. Hearing Tr. 57:21–58:4.
He further clarified however that “[Trump] was concerned about the election results,
but in terms of a lawsuit, [Meadows was] not aware of it.” Id. at 63:22–24. The Court
finds Meadows’s knowledge of President Trump’s concern about the election sufficient
to find that, at the time of this meeting, Meadows had a general awareness of the post-
election activities in Michigan regarding the state’s election procedures.
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  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 42 of 49




Meadows admits to arranging this phone call. Hearing Tr. 53:17–20. Meadows

later testified that he received this phone number either through his attendance

of the Cobb County election recount or by his primary contact at the Georgia

Secretary of State’s Office. Hearing Tr. 89:15–24. Meadows failed to provide

sufficient evidence that these actions related to any legitimate purpose of the

executive branch. Accordingly, the Court finds that Meadows failed to carry his

burden in showing that Overt Act 93 was in the scope of Meadow’s official role

as Chief of Staff.

      As set forth above, the Court finds insufficient evidence to establish that

the gravamen, or a heavy majority of overt acts alleged against Meadows relate

to his role as White House Chief of Staff. The State has put forth evidence that at

various points during the time of the alleged conspiracy Meadows worked with

the Trump campaign, which he admitted was outside of the role of the White

House Chief of Staff. See SX 3 12:49–14:00. Tr. 91:11–20; 95:19–96:23. In light of

the State’s evidence that Meadows undertook actions on behalf of the campaign

during the time period of the alleged conspiracy, Meadows was required to come

forward with competent proof of his factual contention that his actions involving

challenges to the outcome of the Georgia’s Presidential election results were


                                      42
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 43 of 49




within his role as Chief of Staff. His efforts fall short. See Mesa, 489 U.S. at 131–

32 (“There must be a causal connection between what the officer has done under

asserted official authority and the state prosecution. It must appear that the

prosecution of him, for whatever offense, has arisen out of the acts done by him

under color of federal authority and in enforcement of federal law, and he must

by direct averment exclude the possibility that it was based on acts or conduct of

his not justified by his federal duty.”).

      Instead, the evidence before the Court overwhelmingly suggests that

Meadows was not acting in his scope of executive branch duties during most of

the Overt Acts alleged. Even if Meadows took on tasks that mirror the duties that

he carried out when acting in his official role as White House Chief of Staff (such

as attending meetings, scheduling phone calls, and managing the President’s

time) he has failed to demonstrate how the election-related activities that serve

as the basis for the charges in the Indictment are related to any of his official acts.

As the substance of the overt acts constituted a significant part of Meadows’s

testimony and proof of his acting within the scope of his federal office, the Court

concludes that based on the factual evidence, Meadows was not acting in the

scope of his office for purposes of federal officer removal.


                                        43
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 44 of 49




         D.    Count 28

         Count 28 of the Indictment is substantively the same as Overt Act 112 in

the RICO charge. Compare Doc. No. [1-1], 50, with id. at 87. The Court has

already determined that the January 2nd phone call was not related to

Meadows’s role as White House Chief of Staff. See Section III(C)(2) supra. For the

same reasons, the Court determines that Meadows’s participation on this phone

call was not related to the color of the Office of the White House Chief of Staff.

Thus, Meadows has not met his burden in establishing that Count 28 related to

the color of his office and the Court lacks subject matter jurisdiction over that

claim.

         E.    Federal Defenses

         The third prong of Section 1442 removal requires the defendant to allege

colorable federal defenses. Caver, 845 F.3d at 1145. Meadows asserts that he has

immunity from the charges, under the Supremacy Clause, because he was acting

pursuant to the scope of his office. In his Motion to Dismiss, he also asserts a First

Amendment political speech defense and a Due Process defense. Doc. No. [15-1],

29–31. Because Meadows has failed to carry his burden with respect to the




                                        44
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 45 of 49




charged conduct’s relationship to the scope of his federal office, the Court

declines to address Meadows’s defenses. 17

      F.     Federalism

      Finally, the Court finds support for its conclusion that Meadows was not

acting in the scope of his federal officer role for the purpose of Section 1442.

Federal officer removal’s “‘basic’ purpose is to protect the Federal Government

from the interference with its ‘operations[.]’” Watson, 551 U.S. at 150 (2007). It “is

an incident of federal supremacy and is designed to provide federal officials with

a federal forum in which to raise defenses arising from their official duties.”

Caver, 845 F.3d at 1142 (quoting Cohen, 887 F.2d at 1453). At least in the civil

context, “[t]he removal statute itself merely serves to overcome the ‘well-pleaded

complaint’ rule which would otherwise preclude removal even if a federal

defense were alleged.” Mesa, 489 U.S. at 136.




17 The Superior Court may have to decide these issues at a later time, and evaluating

them here should be avoided unless absolutely necessary. The “principle of federalism”
shows “that federal courts must not interfere in state judicial processes because state
courts of general jurisdiction are authorized and competent, as front-line fora, to
adjudicate all relevant questions of both state and federal law.” Penthouse Intern., Ltd.
v. Webb, 594 F. Supp. 1186, 1192 (N.D. Ga. 1984) (citing Younger v. Harris, 401 U.S. 37,
43–44 (1971)).
                                         45
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 46 of 49




      Here, Section 1442’s purposes would not be fulfilled by removal. Meadows

raises a federal officer immunity defense that the Indictment’s charged acts were

made under his federal authority and directed at state actions. The Indictment’s

associations and acts, as well as Meadows’s presented evidence, however, all

indicate that federal officials (or those purporting to act on behalf of federal

officials) engaged in post-election activities that clearly fall outside executive

authority and expressly within the constitutional gamut of the States.

      Assuming jurisdiction over this criminal prosecution would frustrate the

purpose of federal officer removal when the state charges allege—not state

interference with constitutionally protected federal activities, but—federal

interference with constitutionally protected state actions. This result cannot stand

in the face of federalism, “a concept which retains vitality and importance in our

modern constitutional scheme,” and the Constitution’s express delegation of

election activities to States. United States v. Ballinger, 395 F.3d 1218, 1248 (11th

Cir. 2005) (Birch, J., dissenting). Thus, the purposes of federal officer removal are

served, rather than thwarted, by the Court’s conclusion that it has no jurisdiction

over the removal of Meadows’s criminal prosecution.




                                       46
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 47 of 49




                                       * * * *

      As the foregoing analysis illustrates, the Court concludes that Meadows

has not shown that the actions that triggered the State’s prosecution related to his

federal office. The Constitution, federal statute and regulation of executive

branch employees, and the purpose of Section 1442 support this conclusion.

Meadows’s alleged association with post-election activities was not related to his

role as White House Chief of Staff or his executive branch authority.

      The Court acknowledges that federal officer’s “relating to” requirement is

“broad.” Caver, 845 F.3d at 1144. The Court also acknowledges that “[f]ederal

courts credit the removing party’s theory of the case for purposes of determining

if a federal officer both acted ‘under color of office’ and raised ‘a colorable federal

defense.’” Heinze, 637 F. Supp. 3d at 1322 (quoting Acker, 527 U.S. at 432). The

Court does not take lightly these standards in rendering its conclusion that

federal officer removal is not supported here. Rather, the Court concludes that if

it were to agree with Meadows’s arguments regarding removal, the Court would

have to turn a blind eye to express constitutional power granted to the States to

determine their election procedures, as well as federal statutory and regulatory

limitations on political activities of executive branch officials. The Court would


                                        47
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 48 of 49




be ignoring the evidence Meadows himself submitted of his post-election related

activities and the purpose of the federal officer removal statute. It would be

legally and factually erroneous for the Court to do so.

      The Court makes clear this Order determines only that, as a federal court

with limited jurisdiction, it lacks any basis for jurisdiction over Meadows’s

criminal prosecution. The Court’s conclusion is not to suggest any opinion about

the State’s case against Meadows. The Court makes no ruling on the merits of the

charges against Meadows or any defense that he may offer. Meadows maintains

the presumption of innocence and bears no burden of proving that he did not

commit the crimes charged against him. The burden of proof beyond a

reasonable doubt remains with the State. This Order’s sole determination is that

there is no federal jurisdiction over the criminal case. The outcome of this case

will be for a Fulton County judge and trier of fact to ultimately decide.

      The Court also makes clear that its determination on Meadows’s notice of

removal and its jurisdiction over his criminal prosecution does not, at this time,

have any effect on the outcome of the other co-Defendants who have filed notices




                                       48
  Case 1:23-cv-03621-SCJ Document 69 Filed 09/08/23 Page 49 of 49




of removal of the criminal prosecution against them. 18 The Court will assess these

Defendants’ arguments and evidence following the forthcoming hearings on the

notices of removal, independent of its conclusion in this Order.

IV.   CONCLUSION

      For the foregoing reasons, the Court DECLINES to assume jurisdiction

over the State’s criminal prosecution of Meadows under Section 1455 and

REMANDS the case to Fulton County Superior Court. The Court also DIRECTS

the Clerk of Court to TERMINATE all pending motions and CLOSE this case.



      IT IS SO ORDERED this 8th day of September, 2023.



                                         ________________________________
                                         HONORABLE STEVE C. JONES
                                         UNITED STATES DISTRICT JUDGE




18 See Georgia v. Jeffrey Bossert Clark, No. 1:23-cv-03721-SCJ (NDGa.); Georgia v. David

James Shafer, No. 1:23-cv-03720-SCJ (NDGa.); Georgia v. Shawn Micah Tresher Still, No.
1:23-cv-03792-SCJ (NDGa.); Georgia v. Cathleen Alston Latham, No. 1:23-cv-03803-SCJ
(NDGa.).
                                         49
